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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

BOARDS OF TRUSTEES OF THE                     * Case No. 2:20-cv-457
OHIO LABORERS BENEFITS,
                                              *
      Plaintiffs,
                                              *
v.
                                              *
USA CONCRETE SPECIALISTS, INC.,                   COMPLAINT

                                              *
      Defendant.
                                              *

                                              *

         Plaintiffs Boards of Trustees of the Ohio Laborers Benefits, by and through

undersigned counsel, state their Complaint as follows:

                                  PRELIMINARY STATEMENT

         Plaintiffs bring this action seeking equitable relief, monetary relief, costs, expenses,

and attorneys’ fees. Specifically, Plaintiffs seek $6,342.07—that is, $3,142.07 in liquidated

damages and interest attributable to delinquent contributions pursuant to the terms of

governing plan documents for the period of January 2017 through October 2019, as well as

known attorneys’ fees, court costs, and expenses in the amount of $3,200.00—plus

supplemental attorneys’ fees and costs related to the collection thereof in this action. Finally,

Plaintiffs seek orders from this Court (1) enjoining Defendant from further breaching the

terms of the plan documents and violating ERISA and (2) enforcing the terms of the plan

documents and ERISA.



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                                  JURISDICTION AND VENUE

1.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, 29 U.S.C. § 185, and 29 U.S.C. § 1132(e).

2.       Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part of

the events or omissions giving rise to the claim occurred in Franklin County, Ohio and

under 29 U.S.C. § 1132(e)(2) because the plans are administered in Franklin County, Ohio.

3.       Under 29 U.S.C. § 1132(h), a copy of this Complaint has been served upon the

Secretary of Labor and the Secretary of the Treasury by certified mail.

                                           PARTIES

4.       Plaintiffs are the fiduciaries of three employee benefit plans—the Ohio Laborers’

District Council – Ohio Contractors’ Association Insurance Fund, the Laborers’ District

Council and Contractors’ Pension Fund of Ohio, the Ohio Laborers’ Training and

Apprenticeship Trust Fund—and one labor-management cooperative trust known as Ohio

Laborers’ District Council – Ohio Contractors’ Association Cooperation and Education

Trust. The plans collectively are known as the “Ohio Laborers Benefits,” and maintain their

principal office and place of business at 800 Hillsdowne Road, Westerville, Ohio 43081.

The plans also are obligated pursuant to collective bargaining agreements to collect

contributions to the LIUNA Tri-Funds, three national labor-management cooperative trusts.

5.       Defendant USA Concrete Specialists, Inc. (“Defendant”) is an Ohio corporation with

its principal place of business in Columbiana County, Ohio. Defendant is an “employer” in

“commerce” or “affecting commerce” within the meaning of 29 U.S.C. § 1002(5), 29 U.S.C. §

1002(1), and 29 U.S.C. § 1002(12), and within the meaning of 29 U.S.C. § 152(2), 29 U.S.C. §

152(5), and 29 U.S.C. § 152(7).


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                                    FACTUAL BACKGROUND

6.        The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

7.        Defendant and Laborers’ International Union of North America, Locals 125, 134,

500, 809, and 804 are signatory to Building Agreements applicable to work Defendant

performed on work within the building and construction industry in dozens of Ohio

counties (“CBAs”).

8.        Defendant was at all times relevant bound to the Agreements and Declarations of

Trust establishing the Ohio Laborers’ Fringe Benefit Programs and the LIUNA Tri-Funds by

virtue of executing the CBAs and performing work thereunder.

9.        All of those referenced documents obligated Defendant to file monthly contribution

reports, permit audits of its financial records, and make hourly contributions to the Ohio

Laborers Benefits on behalf of all persons as defined in the aforesaid CBAs.

10.       The CBAs, the Agreements and Declarations of Trust, and the rules and regulations

promulgated by the Boards of Trustees for the Ohio Laborers Benefits authorize Plaintiffs

to conduct an audit of financial records, collect delinquent contributions, and assess and

collect liquidated damages where an employer like Defendant fails to timely remit required

contributions and deductions.

11.       Plaintiffs conducted an audit of Defendant and found that, between the time period

of January 2017 through October 2019, Defendant failed to timely submit the required

contributions on multiple occasions, and as such, has been assessed liquidated damages

and interest in a consolidated amount of not less than $3,142.07, as well as attorneys’ fees




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and costs associated with collecting the delinquent contributions and obtaining the audit in

the amount of $3,200.00, for a grand total of $6,342.07.

12.       Plaintiffs have demanded payment from Defendant.

13.       To date, Defendant has not remitted the required payments to Plaintiffs, and

Plaintiffs are entitled to collect at least $6,342.07 in liquidated damages, interest, costs, and

attorneys’ fees, plus costs of this action, including attorneys’ fees, court costs, and expenses

related to the collection of the same.

                                  FIRST CLAIM FOR RELIEF
                         (Breach of Collective Bargaining Agreement)

14.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

15.       Pursuant to the terms of the CBAs, Defendant was required to remit contributions to

Plaintiffs.

16.       As such, Plaintiffs are intended third-party beneficiaries entitled to enforce the terms

of the CBAs.

17.       Defendant’s failure to remit timely payment on the delinquent contributions and

deductions, the liquidated damages, and interest assessed by Plaintiffs constitute a breach

of the CBAs and a violation of 29 U.S.C. § 185.

18.       As a direct and proximate result of Defendant’s breach of the CBAs, Plaintiffs have

suffered damages.

                                  SECOND CLAIM FOR RELIEF
                                          (ERISA)

19.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.


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20.       Defendant’s failure to make said payments under the CBAs constitutes a violation of

29 U.S.C. § 1145.

21.       Defendant’s violation of 29 U.S.C. § 1145 has damaged Plaintiffs.

22.       Plaintiffs therefore seek and are entitled to liquidated damages and interest due and

owing on delinquent contributions; known costs and attorneys’ fees incurred in collecting

the delinquent contributions and obtaining an audit; and the costs involved in bringing this

action, including attorneys' fees, court costs, and expenses pursuant to 29 U.S.C. § 1132(g).

                                   THIRD CLAIM FOR RELIEF
                                      (Injunctive Relief)

23.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

24.       In failing to pay contributions due and owing under the CBAs, Defendant breached the

terms of the governing documents of the Ohio Laborers Benefits and violated 29 U.S.C. §

1145.

25.       Plaintiffs therefore seek, pursuant to 29 U.S.C. §§ 1132(a)(3)(A) and (B) an Order from

this Court (1) ordering Defendant to make timely contributions, (2) enjoining Defendant

from further breaching the terms of the governing documents of the Ohio Laborers Benefits

and violating ERISA, (3) ordering Defendant to submit monthly contribution reports to

Plaintiffs, and (4) enforcing the governing documents of the Ohio Laborers Benefits and

ERISA.

                                      DEMAND FOR RELIEF

          WHEREFORE, Plaintiffs demand judgment as follows:

          A.     That this Court enter an Order that Defendant’s failure to remit timely


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required contributions and deductions constitutes a violation of 29 U.S.C. § 1145;

       B.     That this Court enter an Order that Defendant’s failure to timely remit

required contributions and deductions is a breach of the CBAs and constitutes a violation of

29 U.S.C. § 185;

       C.     That this Court enter an Order requiring Defendant to pay to Plaintiffs at

least $6,342.07, that is, the current amount of liquidated damages, interest, costs, and

attorneys’ fees owed as a result of untimely payment of delinquent contributions and

obtaining an audit;

       D.     That this Court enter an Order pursuant to 29 U.S.C. § 1132(g) requiring

Defendant to pay the costs of this action, including reasonable attorneys’ fees, court costs,

and expenses; and

       E.     That this Court award any and all other relief deemed appropriate.

                                   Respectfully submitted,

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